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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

                                                       )       CHAPTER 11
IN RE:                                                 )
                                                       )       CASE NO. 19-59440
P-D VALMIERA GLASS USA CORP,
                                                       )
                         Debtor.                       )
                                                       )

   NOTICE OF DESIGNATION AS COMPLEX CHAPTER 11 BANKRUPTCY CASE

       This bankruptcy case was filed on June 17, 2019. The Debtor believes that this case

qualifies as a Complex Chapter 11 case because:
           X
                  The Debtor has total debt or total assets of more than $25 million, excluding claims

of insiders (as defined in 11 U.S.C. § 101);
          X       There are more than 100 parties in interest in this case, excluding former and

current employees;

                  Claims against or interests in the Debtor are publicly traded; or

                  Other (Substantial explanation is required. Attach additional sheets if necessary.);

                  The Debtor is not an individual; and

                  The Debtor does not own single asset real estate, or it does own single asset real

estate but treatment as a Complex Chapter 11 Case is justified (attach explanation explaining the

circumstances).
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      This 17th day of June, 2019.

                                           SCROGGINS & WILLIAMSON, P.C.

4401 Northside Parkway                     By:    /s/ J. Robert Williamson
Suite 450                                         J. ROBERT WILLIAMSON
Atlanta, Georgia 30327                            Georgia Bar No. 765214
T: (404) 893-3880                                 ASHLEY REYNOLDS RAY
F: (404) 893-3886                                 Georgia Bar No. 601559
E: rwilliamson@swlawfirm.com
   aray@swlawfirm.com                      Proposed Counsel for the Debtor
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                                 CERTIFICATE OF SERVICE

       This is to certify that on this date I served a true and correct copy of the foregoing Notice

of Designation as Complex Chapter 11 Bankruptcy Case by causing the same to be deposited

in the United States Mail with adequate postage affixed thereon and addressed to the following

persons:

                               Office of the United States Trustee
                                 362 Richard Russell Building
                                   75 Ted Turner Drive, SW
                                       Atlanta, GA 30303

       This 17th day of June, 2019.

                                                     SCROGGINS & WILLIAMSON, P.C.


4401 Northside Parkway                                      /s/ J. Robert Williamson
Suite 450                                            J. ROBERT WILLIAMSON
Atlanta, GA 30327                                    Georgia Bar No. 765214
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       aray@swlawfirm.com                            Proposed Counsel for the Debtor
